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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                     Case No. 10-CR-20320-2

DANIEL THOMAS,

             Defendant.
                                     /

                  OPINION AND ORDER GRANTING MOTION
            PURSUANT TO 28 U.S.C. § 2255 FOR SENTENCE REDUCTION

      On October 14, 2011, Defendant Daniel Thomas moved pro se for reduction of his

60-month term of imprisonment under 18 U.S.C. § 3582(c)(2) based on a guideline

sentencing range that had been subsequently lowered and made retroactive pursuant to

28 U.S.C. § 994(u). Counsel was appointed to represent the defendant, and the court was

advised in a memorandum filed by counsel that defendant was not eligible for such

sentence reduction. (12/19/2011 Notice.) The motion was denied and Defendant

appealed. On November 1, 2012, the Court of Appeals reversed this court’s denial in view

of a subsequent Supreme Court decision in Dorsey v. United States, 132 S. Ct. 2321,

2326 (2012) that made clear that the sentencing court had the discretion to impose a

sentence below the otherwise mandatory 60-month as was thought to be required in this

case. The Court of Appeals directed this court to interpret Defendant’s motion for

sentence reduction as a petition under 28 U.S.C. § 2255, to grant the petition, and to

impose an appropriate, fully discretionary sentence.

      On December 12, 2012, the court consulted in chambers with counsel for the

Defendant and the Government, and was informed that both parties are in agreement that
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Defendant’s motion, so construed, should be granted; both are also in agreement that

there in no need to require the Defendant to be personally present for re-sentencing.

Accordingly,

         IT IS ORDERED that Defendant’s motion for sentence reduction [Dkt. # 56] is

GRANTED and that a sentence of 41 months is hereby imposed. A Judgment and

Commitment Order shall be separately issued.



Date: February 21, 2013

                                                          s/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          United States District Judge




I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, February 21, 2013, by electronic and/or ordinary mail.

                                                        s/Lisa Wagner
                                                Case Manager and Deputy Clerk
                                                (313) 234-5522




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